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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                               FORT LAUDERDALE DIVISION

                                 CASE NO.: 0:23-cv-61203-AHS

  THE SMILEY COMPANY SPRL,

         Plaintiff,

  v.

  THE INDIVIDUALS, PARTNERSHIPS AND
  UNINCORPORATED ASSOCIATIONS
  IDENTIFIED ON SCHEDULE “A,”

         Defendants.
                                                    /

                           NOTICE OF VOLUNTARY DISMISSAL
                           AS TO CERTAIN DEFENDANTS ONLY

         PLEASE TAKE NOTICE, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i) and by undersigned

  counsel, Plaintiff hereby voluntarily dismisses with prejudice all claims against the following

  Defendants:

                                      RICH SUPPLY (DOE 485)

                                      ARUILIYA (DOE 36)



  Date: November 21, 2023                    Respectfully submitted by,

                                             Richard Guerra
                                             Richard Guerra (Fla. Bar No. 689521)
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